     Case 2:15-cr-00061-SM-JCW             Document 242         Filed 05/06/15       Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                CRIMINAL ACTION

VERSUS                                                                  No. 15-61

SUPRENIA WASHINGTON, ET AL.                                             SECTION “E”

                                              ORDER

        Before the Court is Suprenia Washington's Motion to Join1 the following motions

filed by her co-defendants: (1) Crinel's motion to suppress,2 (2) Crinel's motion to

dismiss indictment,3 and (3) Crinel and Evans's motions to sever.4 The Government

opposes Crinel's joinder in the motion to suppress and the motion to dismiss.5

I.      Joinder in Motion to Suppress

        Crinel previously filed a motion to suppress evidence seized from Abide's

corporate office.       She argues the search was unconstitutional, because the warrant

authorizing the search was defective. Washington moves to join Crinel's motion.

        The analysis regarding whether the warrant was defective and/or whether

officers executed the warrant in good faith will be substantially similar (if not identical)

for Crinel, Washington, or any other defendant challenging the search. In order to

prevail, however, Washington must first establish she had a legitimate expectation of

privacy in the area searched or the items seized.6 Thus, Washington must make an

individualized showing that cannot be accomplished simply by adopting another



1 R. Doc. 221.
2 R. Doc. 26.
3 R. Doc. 76.
4 R. Docs. 27, 207, respectively.
5 The Government does not object to joinder in the motions to sever.  R. Doc. 232. Nonetheless, because
the motion is opposed in part, it should have been filed as contested and set for submission. Counsel is
admonished to follow this procedure when filing future motions.
6 See United States v. Ibarra, 948 F.2d 903, 905 (5th Cir. 1991).


                                                   1
       Case 2:15-cr-00061-SM-JCW             Document 242          Filed 05/06/15      Page 2 of 3




defendant's motion.7 In order to make this showing, Washington will have to file

supplemental memoranda to which the Government will be entitled to respond. This

procedure will lead to a confusing mish-mash of supplemental memoranda cross-

referencing a motion filed by a different defendant. These errors would be multiplied if

the Court granted Washington's motion and her co-defendants elected to file similar

motions. In short, rather than promoting judicial economy, allowing joinder in the

motion to suppress will further cloud a record that becomes more complicated by the

day.

II.      Joinder in Motion to Dismiss Indictment

         Crinel previously filed a motion to dismiss the indictment. Crinel argues the

indictment is facially deficient because it charges Abide with violating the Anti-Kickback

statute by providing its employees with compensation for Medicare referrals. Under the

safe-harbor provision to the statute, however, Crinel argues it is lawful for an employer

to provide Medicare referral fees to a bona fide employee. Because the indictment

charges lawful conduct in furtherance of the conspiracy charged in Count 2, Crinel

contends the grand jury was incorrectly instructed on the law. Accordingly, Crinel seeks

to dismiss the indictment in its entirety with prejudice. Alternatively, Crinel seeks to

dismiss "all counts . . . in the indictment" charging Abide with providing Medicare

referral fees to its bona fide employees.8

         Washington moves to join this motion.                The Government objects. It argues

Crinel's motion only addresses one count—Count 2—as impermissibly charging




7 See United States v. Phillips, 382 F.3d 389, 495 (5th Cir. 2004) (noting that Fourth Amendment rights

are "individually held.").
8 R. Doc. 76.Crinel never actually specifies which counts she is seeking to dismiss.

                                                     2
    Case 2:15-cr-00061-SM-JCW        Document 242     Filed 05/06/15    Page 3 of 3




kickbacks. Because Washington is not charged in Count 2, the Government contends

joinder is improper.

      The Court disagrees. Washington is entitled to allege a defect in Count 2 of the

indictment she believes affects the entire indictment. That Washington is not a named

defendant in Count 2 is irrelevant. The Government cites no law to the contrary.

      For the reasons previously stated;

      IT IS ORDERED that the Motion is GRANTED IN PART and DENIED IN

PART.     Washington may join the motions to sever and the motion to dismiss

indictment but may not join the motion to suppress.

      New Orleans, Louisiana, this 6th day of May, 2015.

                                           __________   _______ ________
                                                   SUSIE MORGAN
                                           UNITED STATES DISTRICT JUDGE




                                            3
